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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA,
ex rel. MYRON JONES, M.D.;

STATE OF GEORGIA ex rel.
MYRON JONES, M.D.; and
CIVIL ACTION NO.
STATE OF TEXAS

ex rel. MYRON JONES, M.D. 1:17-cv-2472-SDG
Plaintiffs-Relators,

Vv.

MILTON HALL SURGICAL
ASSOCIATES, LLC d/b/a THE
ENT INSTITUTE AND a/k/a EAR
NOSE & THROAT INSTITUTE,
JEFFREY M. GALLUPS, M.D.,
NEXT HEALTH, LLC, UNITED
TOXICOLOGY LLC, AMERICAN
LABORATORIES GROUP LLC,
ENTELLUS MEDICAL, INC. AND
STARKEY LABORATORIES, INC,
d/b/a STARKEY HEARING
TECHNOLOGIES

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Defendants.

CONSENT JUDGMENT

The United States of America, the State of Georgia (the “Government”), the Relator

Dr. Myron Jones, and Defendants Jeffrey M. Gallups, M.D. and Milton Hall Surgical

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Associates, LLC (“Defendants”) (collectively, the “ Parties”) hereby stipulate and agree as
follows:

1. On June 30, 2017, Relator Dr. Myron Jones filed a qui-tam Complaint in the
US. District Court for the N.D. of Georgia (the “Civil Action”), wherein he alleged that
Dr. Jeffrey M. Gallups (“Gallups”) and Milton Hall Surgical Associates, LLC (“MHSA”)
- which is a metro Atlanta ENT practice founded by Gallups - violated the FCA by
entering into kick-back arrangements with a genetics and toxicology testing firm called
NextHealth, LLC (“NextHealth”), as well as with a medical device company called
Entellus, Inc. (“Entellus”)

Zt This Court has subject matter jurisdiction over this matter under 31 U.S.C.
§ 3732(a), 31 U.S.C. § 3732(b), 28 U.S.C. § 1345, and 28 U.S.C. § 1331, the Federal Debt
Collection Procedure Act, 28 U.S.C. § 3001 et seq., and 28 U.S.C. § 1355.

3. The Court has personal jurisdiction over Defendants, who waive all
objections as to this action, including objections as to the form and manner of service of
the Complaint and Consent Judgment except as provided in the underlying Settlement
Agreement between the Parties, a true and correct copy of which is attached hereto as
Exhibit A.

4, On or around November 30, 2021, the United States, the State of Georgia
Dr. Gallups and MHSA agreed to settle certain claims asserted against Dr. Gallups in the

Civil Action pursuant to the terms set forth in Parties’ Settlement Agreement (See, Ex. A)
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5. Specifically, the Parties agreed to settle those claims - and only those
claims - asserted against Dr. Gallups that are set forth and described as the “Covered
Conduct” in the Settlement Agreement. (See, Ex. A, p. 2)

6. In the Settlement Agreement, Gallups and MHSA agreed to the entry of this
judgment against them, jointly and severally, in the amount of Five Million, Three
Hundred and Eighty-Eight Thousand, Eight Hundred and Sixty Three Dollars
($5,388,863), should Gallups fail to pay the entire Settlement Amount within 12 months
of the execution of the November 30, 2021 Settlement Agreement. (See, Ex. A, §[2)

7. Gallups has failed to pay the entire Settlement Amount within the time
period set forth in the Settlement Agreement.

8. Therefore, Defendants Gallups and MHSA acknowledge their liability and
debt owed to the Government in the amount of Five Million, Three Hundred and Eighty-
Eight Thousand, Eight Hundred and Sixty Three Dollars ($5,388,863), plus post-judgment
interest at the judgment rate, plus costs, less any amounts that have already been paid, in
connection with Defendants’ violations of the False Claims Act (31 U.S.C. §§ 3729-3733)
and the Georgia False Medicaid Claims Act (“GFMCA”) (O.C.G.A. § 49-4-168, et seq.),
which are described in the underlying Settlement Agreement as the “Covered Conduct.”1
(See Ex. A, ¥1-2)

2, This Consent Judgment may not be avoided pursuant to 11 U.S.C. § 547.

' Herein, Defendant MHSA expressly acknowledges that it - in addition to Dr. Gallups -
engaged in the Covered Conduct as described in the Settlement Agreement. (See, Ex. A)

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10. | Defendants Gallups and MHSA understand that the aforementioned debt
arises from conduct that constitutes intentional fraud, which is non-dischargeable under
the Federal Bankruptcy Laws.

11. Any claims, actions or proceedings brought by the United States and/or the
State of Georgia to collect this Judgment are not subject to an “automatic stay” under the
Federal Bankruptcy Laws.

12. In return for Defendants’ consent to entry of judgment, the United States
and the State of Georgia agree to accept the amount of $5,388,863, plus post-judgment
interest and costs, in full satisfaction of Defendants’ liability for the Covered Conduct
defined in Ex. A.

13. The Parties further agree that this Consent Judgment does not impact, limit,
or otherwise restrict the rights of the Parties for conduct other than the Covered Conduct
(see, Ex. A, {D) unless otherwise limited or specified in the Settlement Agreement.

14. All terms of the Settlement Agreement are to remain in effect,
notwithstanding entry of this Judgment.

15. The payment of $5,388,863 described in Paragraph 6 shall be made by
certified check made payable to the “United States of America” and shall be directed to

the following address:

USS. Attorney’s Office

Financial Litigation Unit

Richard B. Russell Building.

75 Ted Turner Dr. SW, Ste. 600
Atlanta, GA 30303
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or to another location as directed by the U.S. Attorney’s Office. The check shall include
the case number of this case.

16. The United States and the State of Georgia reserve the right to take all
actions permitted by law to collect the judgment debt, including actions provided in the
Federal Debt Collection Procedures Act, 28 U.S.C. § 3001 et seq., should Defendants fail
to pay the debt in full within ten (10) days of entry of the Consent Judgment.

17. The United States and/or the State of Georgia agree to pay to the Relator
20% of any portion of the $5,388,863 that it or they collect from Gallups and/or MHSA
pursuant to this Judgment.

18. | The Court shall retain jurisdiction over this case for purposes of enforcing

the Consent Judgment Order.

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Consented to:

THE UNITED STATES OF AMERICA

DATED: Mt [80/2 | BY: (Annis Wen

PARIS A. WYNN”

Assistant United States Attorney

United States Department of Justice

United States Attorney’s Office for the N.D. of Georgia

THE STATE OF GEORGIA

P. MOONEY fi
Ass{stant Attorney Gen
Geprgia Bar No. 940402
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DATED: |}129)2! BY:

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E-Mail: jmooney@law.ga.gov
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DATED: ///Zf /2r BY:

DATED: 11-29-21 BY: Scott Pubman

SCOTT GRUBMAN
Counsel for Jeffrey M. Gallups, M.D.

TON HALL SURGICAL ASSOCIATES LLC, - DEFENDANT

IGER

JEFFREY M. GALLUPS, SOLE ME
CEO

DATED: 11-29-21 BY: Dek GF wb man

SCOTT GRUBMAN
Counsel for MHSA.

The foregoing Consent Order is hereby APPROVED and SO ORDERED this
__day of 20.

District Judge
Northern District of Georgia

